Case 3:12-cv-02039-FAB Document 1346-1 Filed 10/03/19 Page 1of3

Name: Rafael E. Ruiz INVOICE # 2019-09
Address: 12 Crestshire Dr.
Lawrence, MA 01843 DATE: Sept 30, 2019

Billed to: Federal Monitor, PRPB Reform

For service: Sept 1*- 30 2019

Description HOURS RATE AMOUNT

Site visit to PR, Sept 23": Monitor team discussion 8hrs. 5150/hr. $1,200.00

Site visit to PR, Sept 24": Methodology discussion

with Parties 8hrs. $150/hr. $1,200.00

Site visit to PR, Sept 25"*: Methodology discussion

with Parties and meeting with DSP Secretary 12hrs. $150/hr. $1,800.00

Site visit to PR, Sept 26": Methodology discussion

with Parties; meetings at McV. and with Judge Gelpi 11hrs. $150/hr. $1,650.00

Site visit to PR, Sept. 27": Discussion of Worksheets and

Para. 253, Agenda, etc. 2hrs. $150/hr. $300.00

WORK PERFORMED FROM HOME:

Sept. 3: work on IT methodology, prep draft for parties,

monitor complaint line emails, phone calls, emails among

Parties and Monitor Team Shrs. $150/hr. $750.00

Sept. 4%: Read Methodology and Develop Search and

Seizure and Arrest and Summons Worksheets 1 and 2 4hrs. $150/hr. $600.00

Sept. 6: Work on Search Seizure/Arrest and Summons

Worksheets 3 and 4, prep email for the Monitor 4hrs. $150/hr. $600.00

Sept. 15th: Work on Methodologies for Civilian Complaints,

Community Engagement, Equal Protection, and PRPB

Worksheets Shrs. $150/hr. $750.00

Sept. 18": Work on grouping all comments and changes

to Methodologies on one Master Document for ease of

discussion among Parties, per Monitor 3hrs. $150/nr. $450.00

HOURS WORKED: 62; HOURS BILLED: 60.67 @$150/HR SUBTOTAL $9100.00

TRAVEL AND HOTEL EXPENSES: HOTEL $700.34

AIRFARE $466.46= $1166.80; SUBTOTAL 1000.00
TOTAL BILLED $10,100.00

CfLihey. Date: September 30, 2019

Signature
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< Transaction details
JETBLUE 27921334494535 $466.46

8005382583, UT 11101

Transaction date
Aug 26, 2019

Transaction posted
Aug 28, 2019

Purchased by
Rafael Ruiz

Rewards earned
1399

Merchant category
JETBLUE AIRWAYS
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MARRIOTT COURTYARD

UBER

MARRIOTT HOTELS RESORTS

MARRIOTT HOTELS RESORTS

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JUAN PR

Sep 23

NETFLIX.COM 866-579-7172 CA

Sep 22

$700.34

$4.37

$889.70

$889.70

$700.34

$12.99

iPhone CitizenOne LoBRIDGEPORT CT $30.99

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Home
